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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION



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 UNITED STATES OF AMERICA                            :
                                                     : CASE NO. 05-CR-131
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     : ORDER ACCEPTING PLEA AGREEMENT
 ADRIENNE ARCHACKI                                   : AND JUDGMENT AND NOTICE OF
                                                     : HEARING
                                      Defendant      :
 -----------------------------------------------     :


UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge William H. Baughman, Jr. regarding the change of plea hearing

and plea agreement of Adrienne Archacki which was referred to the Magistrate Judge

with the consent of the parties.

       On 16 March 2005, the government filed a two-count indictment against

Adrienne Archacki for conspiracy to possess with the intent to distribute and distribution

of a controlled substance in violation of 21 U.S.C. § 846, and distribution of a controlled

substance in violation of 21 U.S.C. § 841(a)(1), § 841(b)(1)(C), and 18 U.S.C. § 2. On

14 April 2005, a hearing was held in which Adrienne Archacki entered a plea of not

guilty before Magistrate Judge Baughman. On 1 March 2006, Magistrate

Judge Baugham received Adrienne Archacki’s plea of guilty and issued a Report and
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Recommendation (“R&R”) concerning whether the plea should be accepted and a

finding of guilty entered.

         Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

         On de novo review of the record, the Magistrate Judge's R&R is adopted.

Adrienne Archacki is found to be competent to enter a plea. She understands her

constitutional rights. She is aware of the charges and of the consequences of entering

a plea. There is an adequate factual basis for the plea. The Court finds the plea was

entered knowingly, intelligently, and voluntarily. The plea agreement is approved.

         Therefore, Adrienne Archacki is adjudged guilty of Counts One and Twenty-Nine

in violation of in violation of 21 U.S.C. § 846, § 841(a)(1), § 841(b)(1)(C), and 18

U.S.C. § 2.

         Sentencing will be:

                       15 May 2006 at 3:00 p.m.

                       Courtroom 18-A
                       18th Floor, United States District Court
                       801 West Superior Avenue
                       Cleveland, Ohio 44113


         IT IS SO ORDERED.



Dated:         9 March 2006                      _/s/Lesley Wells        _____
                                                 UNITED STATES DISTRICT JUDGE




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